IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

LARISSA HARPER HAIRGROVE,
Plaintiff,

v. 1:21CV814

CITY OF SALISBURY, DOWNTOWN

SALISBURY INC., and LANE BAILEY

in his individual and official capacity,

Defendants.

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ORDER APPROVING AMENDED JOINT RULE 26(f) REPORT
The Court has reviewed the Amended Joint Rule 26( Report (Docket Entry 24)
submitted by the patties and approves it without modification. ‘The parties do not believe this
case will involve confidential or sealed documents. If the patties determine during discovery
that they have incorrectly indicated that the case will not involve any confidential or sealed
documents, the parties must meet and confer and file a LR 5.5 Report within 10 days after so

determining, and they must include an explanation for the late change in position.

cp =

Joe L. Webster
United States Magistrate Judge

Date: May 17, 2022

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